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  Jason R. Searcy
  SBN 17953500
  Joshua P. Searcy
  SBN 24053468
  Callan C. Searcy
  SBN 24075523
  Searcy & Searcy, P.C.
  PO Box 3929
  Longview, Texas 75606
  Tel. (903) 757-3399
  Fax. (903) 757-9559
  Counsel for Chapter 11 Trustee
                               UNITED STATES BANKRUPTCY COURT
                                  WESTERN DISTRICT OF TEXAS
                                     SAN ANTONIO DIVISION

  IN RE:                                          §
                                                  §
  PRIMERA ENERGY, LLC                             §                  CASE NO. 15-51396
  21022 Gathering Oak #2101                       §
  San Antonio, Texas 78260                        §
  BEXAR-TX                                        §
                                                  §
  DEBTOR.                                         §                  CHAPTER 11

                             TRUSTEE'S APPLICATION TO
                     EMPLOY TRATON ENGINEERING ASSOCIATES, L.P.

           NOW COMES JASON R. SEARCY, CHAPTER 11 TRUSTEE for Primera Energy,

  LLC (the “Trustee” and/or “Applicant”), and makes this his Application to Employ Traton

  Engineering Associates, L.P. (the “Application”) and in support thereof respectfully represents

  as follows:

           THIS PLEADING REQUESTS RELIEF THAT MAY BE ADVERSE TO YOUR
           INTERESTS.

           IF NO TIMELY RESPONSE IS FILED WITHIN 21 DAYS FROM THE
           DATE OF SERVICE, THE RELIEF REQUESTED HEREIN MAY BE
           GRANTED WITHOUT A HEARING BEING HELD.

           A TIMELY FILED RESPONSE IS NECESSARY FOR A HEARING TO BE
           HELD



                                                  I.

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         On June 3, 2015, an Order for Relief under Chapter 11 of the United States Bankruptcy

  Code was entered against Primera Energy, LLC (the “Debtor”). On July 10, 2015, the U.S.

  Trustee filed an Application to appoint a Trustee for this case; and subsequent thereto, on July

  13, 2015, Jason R. Searcy was appointed to serve as the Trustee.    Jason R. Searcy is the duly

  appointed and serving Chapter 11 Bankruptcy Trustee for the above-named Debtor.

                                                  II.

         Applicant requires the services of Traton Engineering Associates, L.P. to operate and

  maintain the oil and gas properties of the Debtor. These services will include:

         A. Engineering supervision of existing operations such as direction of gaugers and

  office personnel

         B. Railroad Commission reporting

         C. Joint Interest Billing

         D. Review and pay all account vendors

         E.   Revenue processing and distribution including Severance Tax reporting and payment

  (the “Operator Services”).

         The Operator Services will be done on a contract basis for the Debtor with the Debtor’s

  railroad commission permit and bonds remaining in place.

         In addition, the Trustee will from time to time require additional services of Traton

  Engineering Associates, L.P. These may include moving and transferring the books and records

  of the Debtor so they may be used in the operations, expert advice as to oil and gas engineering

  and operations, such services as may be required of a petroleum engineer from time to time to

  determine the viability of well completions and planning or design.




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                                                  III.

         For the foregoing and all other necessary and proper purposes, Applicant desires to

  employ Traton Engineering Associates, LP whose address is 1415 N. Loop W, Suite 1250,

  Houston, Texas 77008; tel. 713 299 7558..

                                                  IV.

         Applicant is informed and believes that the firm of Traton Engineering Associates, LP

  has extensive experience in the matters upon which it is to be retained, and Applicant feels that

  said firm is well qualified to render the services required by Applicant.

                                                  V.

         The terms and conditions of the proposed employment are set out on the Contract

  Operating Services Agreement attached hereto and the well operations will be in accordance

  with the Joint Operating Agreement attached. These charges are uniform, reasonable, and

  standard in the industry. The operator of oil and gas properties is entitled to charge a reasonable

  fee for such operations under the joint operating agreements signed by all interests owners in

  each well. This fee will be a charge against the production from the well and is a charge and

  payment to be made in the ordinary course of business. Debtor’s interest in the wells will be

  subject to its proportionate share of such charges and the remainder of the charges will be

  charged by joint interest billings to the other owners in each well. Applicant requests that no

  additional fee applications be required for the Operator Services since they are for services

  rendered in the ordinary course of Debtor’s business.




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                                                   VI.

         To the best of Applicant's knowledge and based upon the Declaration attached hereto, the

  firm of Traton Engineering Associates, L.P. represents no other entity in connection with this

  case and represents nor holds any interest adverse to the interest of this estate with respect to the

  matters on which it is to be employed and is a disinterested party within the meaning of 11

  U.S.C. §101(14).

         A Rule 2014 Declaration of Pat Merritt is attached hereto.

         A retainer has not been paid to the firm of Traton Engineering Associates, L.P.

         WHEREFORE PREMISES CONSIDERED, Applicant prays for an Order of this

  Court approving the employment of Traton Engineering Associates, LP to render services in the

  areas described above with such compensation as set out herein and authorizing the Trustee to

  enter into and execute the Contract Operating Services Agreement in the form attached hereto.

         SIGNED this the 6th day of August 2015.

                                                 Respectfully submitted,

                                                 SEARCY & SEARCY, P.C.

                                            By: /s/ Jason R. Searcy
                                                Jason R. Searcy, SBN 17953500
                                                Joshua P. Searcy, SBN 24053468
                                                Callan C. Searcy SBN 24075523
                                                P.O. Box 3929
                                                Longview, Texas 75606
                                                903-757-3399
                                                903-757-9559 Fax
                                                Attorneys for Chapter 11 Trustee




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                                  CERTIFICATE OF SERVICE

         This is to certify that a true and correct copy of the above and foregoing document has
 been forwarded via electronic mail, if available, and/or via regular mail, postage prepaid to all
 parties on the attached service list on or before the 6th day of August, 2015.


                                               /s/ Jason R. Searcy
                                               Jason R. Searcy, Trustee




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